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                                                 U.S. Department of Justice
                                                                                             Page 3
                                                     United States Attorney
My und                                               Southern District of New York
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278




                                                     January 17, 2025
BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Sean Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

       The Government respectfully submits the attached declarations in response to the Court’s
January 3, 2025 order, see Dkt. No. 123, and in further support of its opposition to the defendant’s
motion for a hearing and other relief, see Dkt. No. 117.

        At the request of the Bureau of Prisons (“BOP”), the Government respectfully seeks to file
the declaration attached as Exhibit B under seal. Based on communications with counsel from
BOP, the Government understands that the information contained therein reveals sensitive law
enforcement techniques and reveals the identity of an employee involved in an ongoing, BOP-led
investigation. See In re City of New York, 607 F.3d 923, 941 (2d Cir. 2010) (among other interests,
law enforcement privilege “prevent[s] disclosure of law enforcement techniques and procedures”
and “protect[s] . . . law enforcement personnel . . . [and] safeguard[s] the privacy of individuals
involved in an investigation”).

        Finally, with respect to Exhibit A, the Prosecution Team Declaration, the Government
provides information requested by the Court but in doing so, does not waive any applicable
privilege, including law enforcement privilege and deliberative process privilege. See id.; Hopkins
v. H.U.D., 929 F.2d 81, 85 (2d Cir. 1991) (“‘[D]eliberative process’ or ‘executive’ privilege . . .
protects the decisionmaking processes of the executive branch in order to safeguard the quality
and integrity of governmental decisions”).
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       The Government remains available to answer any further questions of the Court.

                                             Respectfully submitted,

                                             EDWARD Y. KIM
                                             Acting United States Attorney

                                       By:      /s
                                             Maurene Comey / Meredith Foster
                                             Emily A. Johnson / Christy Slavik
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cc: All counsel by ECF
